                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

FS MEDICAL SUPPLIES, LLC,                     )
                                              )
              Plaintiff,                      )
                                              )    3:21-cv-00501-RJC-WCM
              v.                              )
                                              )
TANNERGAP, INC. and                           )
TANNER PHARMA UK LIMITED,                     )
                                              )
              Defendants.                     )

                           Consolidated for discovery with

FS MEDICAL SUPPLIES, LLC ,                    )
                                              )
              Plaintiff,                      )
                                              )    3:23-cv-00598-RJC-WCM
v.                                            )
                                              )
TANNER PHARMA UK LIMITED;                     )
RAYMOND FAIRBANKS BOURNE;                     )
and MARY EVERETT                              )
WHITEHURST BOURNE;                            )
                                              )
           Defendants.                        )
_______________________________               )

                                      ORDER

        This matter is before the Court on the following:

     (1) Plaintiff’s Motion to Compel Production of ESI from Jonathan Bracey’s
         Mobile Phone (the “Motion to Compel ESI,” Doc. 174).

     (2) Plaintiff’s Motion to Compel Discovery on Discovery (Doc. 181).

     (3) The parties’ “Joint Stipulated Request for Entry of Addendum to
         Stipulated Protective Order” (the “Stipulation,” Doc. 185).
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   (4) A Motion for Protective Order to Preclude Discovery-on-Discovery filed
       by Defendants Tanner Pharma UK Limited and TannerGAP, Inc.
       (collectively, “Tanner”) (the “Motion for Protective Order,” Doc. 183).

   (5) Tanner’s Motion for Leave to Amend Answer (“Tanner’s Motion to
       Amend Answer,” Doc. 179).

   (6) Plaintiff’s Motion for Protective Order Concerning Depositions –
       Expedited Relief Requested (the “Motion Concerning Depositions,” Doc.
       201).

   (7) A Motion for Leave to Amend Second Defense in Answer filed by
       Raymond Fairbanks Bourne and Mary Everett Whitehurst Bourne a/k/a
       Molly Bourne (collectively, the “Bourne Defendants”) (the “Bourne
       Defendants’ Motion to Amend,” Doc. 209).

   (8) Tanner’s Consent Motion to File Exhibits Under Seal (the “Motion to
       Seal,” Doc. 212).

   (9) A Motion to Modify Discovery Completion Date to Permit Depositions
       after December 6, 2024 filed by the Tanner and Bourne Defendants
       (collectively, “Defendants”) (the “Motion to Extend Discovery Deadline,”
       Doc. 219).

      A hearing on these motions, as well as a status conference, was

conducted on November 20, 2024, following which the undersigned ruled orally

on these matters. This order memorializes those rulings.

      For each ruling described herein, the Court has considered the parties’

filings, the arguments of counsel made during the hearing, and applicable

authorities.

      I.       Motion to Compel ESI

      Previously, FS Medical Supplies, LLC (“FSMS” or “Plaintiff”)

propounded document requests to Tanner, which sought, among other things,


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“All   Whatsapp     messages,   text       messages,   other   text   messaging

communications, teams chats, voicemail messages, or email messages between

or among” Raymond Fairbanks ‘Banks’ Bourne (“Bourne”), Stephen Scalia

(“Scalia”), and/or Jonathan Bracey (“Bracey”) regarding FSMS, Orient Gene,

and the United Kingdom’s purchase of products from Tanner.

       By the Motion to Compel ESI, FSMS seeks an order requiring Tanner to

collect, review, and produce responsive electronically stored information

(“ESI”) from Jonathan Bracey’s mobile phone (the “Device”).

       During the November 20 hearing, Tanner’s document production to date,

privacy concerns raised by Bracey, and a potential process for the forensic

imaging of the Device were discussed. FSMS also confirmed that it does not

seek Bracey’s personal information, including any personal medical

information.

       The Motion to Compel ESI will be granted.

       II.   Motion to Compel Discovery on Discovery and Motion for
             Protective Order

       FSMS seeks to compel Tanner to provide “discovery on discovery,”

including by responding to certain written discovery and designating a

corporate representative of TPUK to testify about the retention, preservation,

and collection of ESI stored by Bourne and Bracey.




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      In response, Tanner moves for a protective order precluding FSMS from

eliciting deposition testimony from TPUK’s corporate representative regarding

Topics 43 and 44 of a deposition notice that has been served pursuant to Rule

30(b)(6) of the Rules of Civil Procedure. which Topics seek testimony about the

‘preservation, collection, review, and production of the custodial ESI” of Bourne

and Bracey.

      Tanner concedes that it anticipated litigation in late February of 2021

but did not issue a litigation hold until January 25, 2022 (though also argues

that no “enterprise” data was lost in light of its blanket retention policies).

      It is also undisputed that a 30-day autodelete setting was activated on

Bourne’s mobile device at some point and that some unknown amount of

Bourne’s text messages that were generated during the relevant discovery

period have been lost.

      Under these circumstances, the undersigned is persuaded that some

limited discovery on discovery is appropriate. See e.g., Black v. West Virginia

State Police, Nos. 3:22-cv-00096, 3:22-cv-00203, 2023 WL 4834948, at *10 (S.D.

W.Va. July 27, 2023) (“discovery on discovery usually is limited to

circumstances where a specific deficiency is shown in a party's production, or

where ‘a party's efforts to comply with proper discovery requests are

reasonably drawn into question.’”); DR Distributors, LLC v. 21 Century

Smoking, Inc., 513 F. Supp. 3d 839, 931–33 (N.D. Ill. 2021) (“in cases involving

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ESI, to satisfy their preservation duties, parties must investigate and disable

autodelete functions … once litigation is reasonably anticipated”).

      However, considering Tanner’s concerns regarding the privileged nature

of some of the information FSMS seeks as well as the representations of

counsel that Bourne and Bracey have each been questioned during their

individual depositions regarding their document retention obligations, both

the Motion to Compel Discovery on Discovery and the Motion for Protective

Order will be granted in part.

      III.   Tanner’s Motion to Amend Answer, the Bourne Defendants’
             Motion to Amend, and the Motion Concerning Depositions

      Tanner seeks leave to file an amended answer that asserts, among other

things, an affirmative defense that the Distribution Agreement is void due to

misrepresentation, and counterclaims for fraud/fraudulent inducement and

negligent misrepresentation. Tanner contends that FSMS misrepresented

FSMS’s practice of vetting companies in China, its ability to fulfill large orders

for personal protective equipment (“PPE”) and its prior experience in PPE

distribution, and that FSMS had multiple employees and an operational office.

Doc. 179-1 at ¶¶ 10, 11. Tanner also contends that FSMS misrepresented the

substance and extent of its prior relationship with Orient Gene and Healgen,

Doc. 179-1 at ¶ 13; see also id. at ¶ 30.




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      Similarly, the Bourne Defendants seek leave to amend their affirmative

defense of “unclean hands” to assert, among other things, that “FSMS

misrepresented its relationships, experience, expertise, resources, and

capabilities to Tanner. The misrepresentations included, but are not limited

to, FSMS’s experience in the PPE industry, staffing, and its relationship with

Orient Gene, as set forth more specifically in Defendants Tanner Pharma UK

Limited’s and TannerGAP, Inc.’s Motion for Leave to Amend Answer.”

      FSMS asks the Court to deny both motions to amend and, instead, to

enter a protective order prohibiting Tanner from asking questions regarding

nine (9) topics during the depositions of Laird Cagan (an owner of FSMS),1

FSMS, and non-parties Charles Roach (“Roach”), Will Hooks (“Hooks”), and

Reese Kennedy (“Kennedy”). See Doc. 201 at 4.

      During the hearing, Defendants represented that if the proposed

amendments to their pleadings were allowed, they would need to: (1) obtain

additional responses to written discovery that had been propounded to FSMS

previously; (2) complete the individual deposition of Cagan; (3) take a corporate

deposition of FSMS pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure; and (4) depose Roach, Hooks, and Kennedy.



1 The deposition of Cagan was previously suspended, to be resumed following the

Court’s consideration of the issues raised in the Motion Concerning Depositions. See
Doc. 208.

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      FSMS represented that it would not need to take further discovery if the

amendments were allowed but argued that it would be prejudiced nonetheless

because it would be required to defend against Defendants’ newly pled

misrepresentation theory. FSMS additionally acknowledged that it knew of

Tanner’s proposed counterclaim in August of 2024 (which was approximately

halfway through the court enforceable discovery period), though argued that

Defendants had acted in bad faith in seeking leave to amend and asserted that

the proposed amendments were futile.

      Having considered the requirements of Rule 15(a), the undersigned is

persuaded that Defendants’ motions to amend should be granted and the

Motion Concerning Depositions should be denied. This ruling is without

prejudice to FSMS’s right to challenge the amendments through any

dispositive motions, if appropriate.

      IV.   Motion to Extend Discovery Deadline

      Considering the parties’ representations regarding the status of

discovery in this matter, including the discovery Defendants wish to conduct

regarding their proposed amendments and the limited time they would need

to complete it, the Motion to Extend Discovery Deadline will be granted.

      V.    Motion to Seal

      Tanner requests leave to file the following four documents under seal,

which documents contain information that has been designated as

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Confidential and/or Confidential – Attorneys’ Eyes Only (the “Subject

Documents”):

            (1) Excerpts from the Deposition of Cagan (Rough
            Draft), October 29, 2024 (Doc. 214);

            (2) Excerpts from the Expert Report of Aaron Dolgoff,
            dated September 11, 2024 (Doc. 215);

            (3) Expert Report of Barry K. Lynn, dated September
            11, 2024 (Doc. 216); and

            (4) Excerpts from the Expert Deposition of Jim Mao
            (“Mao”) (Rough Draft), October 30, 2024 (Doc. 217).

      Although FSMS does not oppose the Motion to Seal, it represented

during the hearing that the depositions of Cagan and Mao have been

provisionally marked as confidential pending FSMS’s review of those

transcripts for confidential information. FSMS additionally explained that

certain information contained in the expert report of Aaron Dolgoff had been

marked as “confidential – attorneys’ eyes only” by Orient Gene, a third party.

      Having reviewed the Subject Documents and heard the statements of

counsel, the undersigned is not persuaded, on the current record, that the

Subject Documents should be sealed but will hold the Motion to Seal in

abeyance and provide an opportunity for any party or non-party to object to the

unsealing of the Subject Documents.




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      VI.   The Stipulation

      The parties confirmed their request for the Court to amend the Consent

Protective Order that was previously entered, and that request will be allowed.

      IT IS THEREFORE ORDERED THAT:

   (1) Plaintiff’s Motion to Compel Production of ESI from Jonathan Bracey’s
       Mobile Phone (Doc. 174) is GRANTED as follows:

         a. On or before December 4, 2024, Tanner SHALL PRODUCE
            responsive electronically stored information contained on Bracey’s
            mobile device in the same form as Tanner has produced
            electronically stored information from other devices.

         b. This production shall not include Bracey’s personal information,
            including any medical information relative to him or his family.

   (2) Plaintiff’s Motion to Compel Discovery on Discovery (Doc. 181) and
       Tanner’s Motion for Protective Order to Preclude Discovery-on-
       Discovery (Doc. 183) are GRANTED IN PART as follows:

         a. FSMS is GRANTED LEAVE to conduct a single 30(b)(6) deposition
            of TPUK. The deposition is limited as follows:

               i. The preservation, collection, review, and production of the
                  custodial ESI of Bourne and Bracey is the sole issue that
                  may be explored.

              ii. The deposition is limited to a duration of no more than two
                  (2) hours on the record.

              iii. FSMS may seek factual information only. TPUK retains its
                   rights to object to individual questions based on reasonable
                   attorney-client privilege or work product concerns.

         b. To the extent FSMS seeks additional discovery on discovery, the
            request is DENIED WITHOUT PREJUDICE. Plaintiff may renew
            a request for discovery on discovery, if appropriate, following the
            30(b)(6) deposition allowed herein and FSMS’s review of the ESI
            from Bracey’s Device.


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(3) The parties’ “Joint Stipulated Request for Entry of Addendum to
    Stipulated Protective Order” (Doc. 185) is GRANTED, and the parties’
    Stipulated Protective Order (Doc. 25) is amended accordingly.

(4) Tanner’s Motion for Leave to Amend Answer (Doc. 179) is GRANTED,
    and Tanner shall file the amended pleading (Doc. 179-2) on or before
    November 22, 2024.

(5) Plaintiff’s Motion for Protective Order Concerning Depositions –
    Expedited Relief Requested (Doc. 201) is DENIED.

(6) The Bourne Defendants’ Motion for Leave to Amend Second Defense in
    Answer (Doc. 209) is GRANTED, and the Bourne Defendants shall file
    the amended pleading on or before November 22, 2024.

(7) Tanner’s Consent Motion to File Exhibits Under Seal (Doc. 212) is
    HELD IN ABEYANCE. On or before December 6, 2024, any party or
    non-party may file any objection to the Subject Documents being
    unsealed. Counsel for FSMS shall provide notice of this deadline to
    Orient Gene.

(8) Defendants’ Motion to Modify Discovery Completion Date to Permit
    Depositions after December 6, 2024 (Doc. 219) is GRANTED, and the
    parties’ deadline to complete court-enforceable discovery in this matter
    is EXTENDED through and including December 20, 2024. All
    other provisions of the Pretrial Order and Case Management Plan (Doc.
    164), including the January 6, 2025 deadline to file motions and the
    May 5, 2025 trial setting remain in effect.

                              Signed: November 25, 2024




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